                Case 3:20-cv-05607-BJR Document 14 Filed 09/24/20 Page 1 of 1




 1                                              THE HONORABLE BARBARA J. ROTHSTEIN

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 8                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 9                                    AT TACOMA
10 AMTRUST INTERNATIONAL
   UNDERWRITERS DESIGNATED                           No.: 3:20-CV-05607-BJR
11 ACTIVITY COMPANY,
                                                     ORDER GRANTING STIPULATED
12                       Plaintiff,                  MOTION TO EXTEND DEADLINE FOR
                                                     INITIAL DISCLOSURES
13         v.
14 CUSTOM HOME INSPECTIONS, LLC, a
   Washington Limited Liability Company;
15 MARNIE SHEERAN, individually,

16                       Defendants.
17

18         For the reasons set forth in the Stipulated Motion to Extend Deadline for Initial
19 Disclosures submitted by Plaintiff AmTrust International Underwriters Designated Activity

20 Company, Defendant Custom Home Inspections, LLC, and Defendant Marnie Sheeran, the

21 Court GRANTS the motion. The deadline for initial disclosures is extended to October 5,

22 2020.

23 DATED this 24th day of September, 2020.

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25                                                     Hon. Barbara J. Rothstein
26                                                     United States District Judge
